 

Case 18-26200 DOC 11 Filed 12/21/18 Page 1 Of 23

Fi|| in this information to identify your case;

 

 

 

 
 

 

Debtom Yecker Stephenson
Fiist Name Middle Name q n
§ '.
Debtor2 2319 B{\.’C 2\ A§! § aj
(Spouse, iifvling) Firsmame Middie Name d » a
' ~ ' ' m ~M_):'~iic'€ '
Umted States Bankruptcy Court for the. Dlstnct Of Maryland U g y § ;:ueu\§ \ x xi h P`M d
.P.T,_Bh. h ,,,ML l -
Case number 18-26200 wl 13 l i\i’~é;`cé¥¢%§ a Check cf thls is an
(|f known) § ….

 

amended filing

 

Ofiicia| Form 1068um
Summary of ¥our Assets and Liabilities and Certain Statistical lnformation 12/15
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this fom\. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

¥our assets
Va|ue of what you own
1_ Schedule A/B: Property (Ofiicia| Form 106A/B)

 

1a. Copy line 55, Tota| real estate, from Schedule A/B .......................................................................................................... $ M
1b. Copy line 62, Total personal properiy, from Schedule A/B ............................................................................................... $ 11,975-00
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ 461,975_00

 

 

 

m Summarize Your Liabilities

Your liabilities
Amount you owe
' 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ w
1 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0 00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $ ____'-

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 321’396_20

 

 

 

 

 

Your total liabilities $ 851 ’380'45
Summarize Your lncome and Expenses
_' 4. Schedule I: Your lncome (Oflicial Form 106|) 0 00
Copy your combined monthly income from line 12 of Schedule I .......................................................................................... $ __~_`_
’ 5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $ __*_0(£

Omcial Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistica| information page 1 of 2

 

 

 

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Debw, 1 Yecker Stephenson Case number (,.,,m,,, 18-26200

 

 

First Name Middle Nane Last Name

-Answer These Questions for Administrative and Statistical Records

 

` 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
|;l No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
Yes
7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

m Your debts are not primarily consumer debts. You have nothing to report on this part of the fonn. Check this box and submit
this form to the court with your other schedules

 

~ 8. From the Statement of Your Current Monmly Income: Copy your total current monthly income from Ofticial
Form 122A-1 r_ine 11; oR, Form 1225 Line 11; oR, Form 122c-1 Line 14. $ 0.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

93. Domestic support obligations (Copy line 6a.) $ 0'00
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) $_`_0'00
90. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0‘00
9d. Student loans. (Copy line 6f.) $M
9e. Ot_)ligations arising out of a separation agreementh divorce that you did not report as $ 0,00

priority claims. (Copy line 69.) __`
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0-00
99. Totar. Add lines ga through 9f. $ 73-00

 

 

 

Oflicial Form 1063um Summary of Your Assets and Liabilities and Certain Statistical lnformation page 2 of 2

 

 

Case 18-26200 DOC 11 Filed 12/21/18

Fill in this information to identify your case and this filing;

Yecker Stephenson

First Name

Debtor 1

 

Mddle Name

Debtor 2
(Spouse, iftiling) Firsi Name

 

Middle Name

United States Bankniptcy Court for the: District of Maryland
1 8-26200

Case number

 

 

 

 

Oft"icial Form 106A/B
Schedule AlB: Property

 

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is is an
amended filing

12/15

 

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits bast. Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct infonnation. lf more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or other Real Estate You Own or Have an lnterest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

El No. co to Part 2.

g Yes. Where is the property?

What is the property? Check all that apply.
13 singie.iamiiy home

El Dupiex or muinonii buiiding

cl Condominium or cooperative

El Manufacwred or mobiie home

307 Tamarack Court

Street address, if available, or other description

1.1.

 

 

 

Cl Land
Upper Mar|boro MD 207-74 g investment property
ley slate ziPcode T'mesha'e

cl Other

 

Who has an interest in the property? Check one.

U Dehiori oniy

a Debtor 2 only

m Debtor 1 and Debtor 2 only

El At least one of the debtors and another

Prince Georges
County

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Clai'ms Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 450,000.00 $ 450,000.00

 

Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
the entireties, or a life estate), if known.

Sole Owner

 

cl Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

lf you own or have more than one, list here:
What is the property? Check all that apply.
ill singie-ramiiy home

1-2- Cl Dupiex or muiii-unii buiiding

Street address, if available, or other description

 

m Condominium or cooperative
n Manufactured or mobile home
a Land

n investment property

m Timeshare

n Other

Who has an interest in the property? Check one,
n Debtor 1 only

a Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

 

 

City State Z|P Code

 

 

County

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership

interest (such as fee simp|e, tenancy by
the entireties, or a life estate), if known.

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification numbers

 

Official Form 106A/B

Schedule AlB: Property

page 1

 

 

 

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Debto,i Yecker Stephenson

 

First Name Middle Name

1.3.

Las‘lName

 

Street address, it available, or other description

 

 

City State

ZlPCOde

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... ")

M Describe ¥our Vehicles

What is the property? Check ali that apply.
Cl singie_famiiy home

Cl Dupiex or muiii-unii building

cl Condominium or cooperative

n Manufactured or mobile home

El Land

n investment property

n Timeshare

m Other

 

Who has an interest in the property? Check one.
n Debtor1 only

cl Debtor 2 only

El Debcori and Debiorz oniy

m At least one of the debtors and another

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Case number irrimown) 18'

2 200

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Credr`tors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

$ 450.000.00

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. |f you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

n No

g Yes
M<»dei Eq`
Year: 201 5

Approximate mileage: 83»41 1
Other information:

§Lien; $32,428.00

 

 

 

lf you own or have more than one, describe here;

3_2_ Make:
Mode|:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
Debtor1 only

El Demor 2 oniy

El Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
m Debtor1 only

n Debtor 2 only

Cl oebtor 1 and Debior 2 oniy

n At least one of the debtors and another

a Check if this is community property (see
instructions)

Schedule AIB: Froperty

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 9,871.00 $ 9,871.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.‘
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2

 

 

Case 18-26200 Doc 11

 

Who has an interest in the property? Check one,

Debtm Yecker Stephenson
First Name Middle Name Lasl Name
3.3. Make:
Mode|- n Debtor1 only
n Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

3_4, Make:
Model:
Year:
Approximate mileage:

Other information:

 

l
i
l
l

 

No
Cl Yes

4_1_ Make:
Model:
Year:

Other information:

 

 

 

|f you own or have more than one, list here:

4_2_ Make:
Model:
Year:

Other information:

 

 

 

 

' 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

El comer 1 and Debior 2 only
El Al least one of mo debtors and another

Cl check ii this is community properly (see
instmctions)

Who has an interest in the property? Check one.

n Debtor 1 only

n Debtor 2 only

E] Debior 1 and Debiorz only

m At least one of the debtors and another

m Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
a Debtor1 only

El Debior 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this is community property (see
instnlctions)

Who has an interest in the property? Check one.
n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

Cl Check if this is community property (see
instructions)

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Case number irlrnowrr) 18'26200

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credilors Who Have Claims Secun=,-d by Property.

Current value of the Current value'of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credi'tors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircrat’t, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, hshing vessels, snowmobiles, motorcycle accessories

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Clai'ms Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

9,871.00

you have attached for Part 2. Write that number here ........................................................................................................................ ')

Ofticia| Form 106A/B

 

Schedule AlB: Property

page 3

 

 

 

- ` 2/21/18 Pa 66 of23
Debm1 Yeckerstephens%ase 18 26200 Doc 11 Fl|ec| 1 Casenumbeg(mm) 18_26200

First Name Midd|e Name Last Name

Describe Your Personal and Household ltems

Do you own or have any legal or equitable interest in any of the following items?

 

 

Current value of the

portion you own?
Do not deduct secured claims
or exemptions
6. Household goods and furnishings
Examples: Major appliances, fumiture, |inens, china, kitchenware
2 yes_ Describe.________ 11 table w/6 chairs, 1 set of dishes, 8 piece cookware, liatware, utensils, $ 1,854_00

iwashi_r\,g,,maqhine`2_lamps§gfa,,di_r)ing room table wl$,.§bairs_F,,S§t aof,,,¢b,ina?»,
7. Electronics

Examples: Te|evisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

cl No , ,,'- _ , ,,,,,,,,,,, ,. … ,. t
2 Yes. Describe .......... 3 Ws, 2 computers, printer/fax/scanner 1, printer 1, $ 100_00
8. Co|lectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabi|ial collectib|es

n No _

 

 

 

 

 

a Yes. Describe..... $
9. Equipment for sports and hobbies
Examples: Sports, photographic exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
a No o steam y
L_.l Yes. Describe .......... $
10.Firearms 1
Examp/es: Pistols, rilies, shotguns, ammunition, and related equipment
a No t d ……e t . _, _… .…_ _……
m Yes. Describe .......... § $
, § _~*°`
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
m No A,M ~e we M_.… …
2 ves. Describe..........§weanng apparel $ 150.00
y 12.Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding n'ngs, heirloom jewelry, watches, gems,
go|d, silver

   

 

 

g No ; _t._...… .` ~..“.s-~.,t.»,__t.e .“e .. 1 s w s s ….e` v 0 00

n Yes' D‘°‘S""b‘ivt€=itcheSZearnings_.3»,.,urie§,..k_!a.<ze,_szit_!;»rio,<,>e!etsn_3N 4 g $A_‘_
13. Non-farm animals

Examples: Dogs, cats, birds, horses

a No t t t m t

n Yes. Describe ....... §

 

14. Any other personal and household items you did not already list, including any health aids you did not list
a No

 

 

 

 

cl Yes. Give specific x `N § $
i"f°"nab`°"- ------------- ._ t _ ., v w .\ w '_, ,, .
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 2 1 _00
for Part 3. Write that number here ...................................................... .............. ')

 

 

 

 

Oflicia| Form 106AlB Schedule AlB: Property page 4

 

 

 

- ' 1/18 Pa e7of23
new Yeckerstephenso)§seiazozoo Docii Filed12/2 Casenumbe?(mn£a_moo

 

 

Part 4: Describe Your Financial Assets

 

 

Do you own or have any legal or equitable interest in any of the following? C'-l"e"f Value °f the
portion you own?
Do not deduct secured claims
or exemptions
16. Cash
Examples.' Money you have in your wallet in your home, in a safe deposit box, and on hand when you tile your petition
a No
a YeS-- cash: ....................... $

17. Deposits of money
Examp/es: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. if you have multiple accounts with the same institution, list each.

n No
cl Yes ..................... institution name:

17.1. Checking account: NaVy FCU XXX 9620 0.00

17.2. Checking account

 

17.3. Savings account NaVy FCU XXX 7824 0.00

$€6$99

17.4. Savings account

 

 

17.5. Certificates of deposit

 

17.6. Other financial account

 

17.7. Other financial account

 

EHH€BM

17.8. Other financial account

 

 

17.9. Other hnancial account

 

§

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage tirms, money market accounts

ZNo

n Yes ................. institution or issuer name:

 

 

 

il

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

 

m No Name of entity: % of ownership:
Yes. Give specific Posh Professiona|s, LLC 100% % $ ()_00
information about 0°/
them ......................... ° % $
0% %

 

Official Form 106AlB Schedule AlB: Property page 5

 

 

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mawa Yecker S,[ephensCor&‘lSe 18 26200 DOC 11 Fl|ed 12/21 ease num;gwm) 8_26200

Flrst Name Middle Name Lmt Name

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 

 

 

No
n Yes. Give specific issuer nam93
information about
them ....................... $
$
$

21. Retirement or pension accounts
Examples: interests in |RA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a No
a Yes. List each
account separately Type of account lnstitution name:
401(k) or similar plan: $
Pension plan: $
lRA: $
Retirement account: $
Keogh: $
Additional account $
Additional account $
~ 22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
a No
n Yes .......................... institution name or individual:
Electrlc: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Teiephone: $
Water: $
Rented fumiture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
n Yes .......................... lssuer name and description:
$
$
$

 

Offlcia| Form 106AlB Schedule AlB: Property page 6

 

 

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owen Yecker Stephenson case number irwin

Firs1 Name Middle Name Last Name

 

24. Interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
a No

n Yes lnsti'tution name and description. Separateiy me the records of any interests.11 U.S.C. § 521(0):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

No
n Yes. Give specific g
information about them....: $

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lntemet domain names, websites, proceeds from royaities and licensing agreements

INo

n Yes. Give specific 1 ;
information about them....§ § $

27. Licenses, franchises, and other general intangibles
Examples: Building perrnits, exclusive lioenses, cooperative association holdings, liquor licenses, professional licenses

 

 

El Yes. Give specific §
information about them $
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured

claims or exemptions
28. Tax refunds owed to you

ZNo

n Yes. Give specific information Federa|: $
about them, including whether 4
you already filed the returns § State:
and the tax years. §
§ Local: $

 

 

29. Family support
Examples.' Past due or lump sum alimony, spousal support, child support, maintenance, divorce settiement, property settlement
n Yes. Give specific information ..............

i

 

 

§ A|imony: $
: Maintenance: $
: Support: $
l Divorce settlement $
Pmperrysetriemm; $

 

30. other amounts someone owes you
Examples.' Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers‘ compensation,
Social Security benehts; unpaid loans you made to someone else

NO t ,,t/-,~ ~~»<~.
a Yes. Give specific information ............... §

 

 

 

thcial Form 106AlB Schedule A/B: Property page 7

 

(§`oelljse 18- 26200 DOC 11 Filed 12/21/18 Page 10 Pg_zé’)zoo

Debw, 1 Yecker Stepheno ease number <,-ii,m,,,

First Name Middle Name Las‘l Name

 

31. lnterests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

-No

Cl Yes. Name the insurance company

_ Company name: Beneficiary_ Surrender or refund value:
of each policy and list its value.

 

 

32. Any interest in property that is due you from someone who has died

|f you are the beneficiary of a living trust, expect proceeds from a life' insurance policy, or are currently entitled to receive
property because someone has died.

a No
El Yes. Give specific information ______________

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
a No ,… ,W …W,m.… i....~,t,~.~._..... ,,…mm .,". . ....,-.__.,.»,~,… M,/. ….W … … ,.,… ……~. .,~, ,…,._ ….c
cl Yes. Describe each claim. .................... ,

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

BNo

cl Yes. Describe each claim. ....................

 

35.Any financial assets you did not already list

ENO

cl Yes. Give specific information ............

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .......................... ................................................. ') $ 0'00

 

 

 

 

m Describe Any Business-Related Property You own or Have an lnterest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
m No. Go to Part 6.
El Yes. eo to line 38.

 

 

   

 

  

 

 

Current value of the
portion you own?
Do not deduct secured claims
or exemptions
38.Accounts receivable or commissions you already earned
a No W v " M W y
a Yes. Describe .......
“ §§
39. Oflice equipment, fumishings, and supplies
Examples: Business-relaled computers software, modems, printers, copiers, fax machines, rugs, telephones desks, chairs, electronic devices
2 No …,....,_.`,\_,._W. , ….\`… K,.,.~\. ,¢_,\¢_.,.,.,.,M. _~\,.<….t.t...".~ v … ¢… w w .…. ¢./,..._ . ..~\….,W._.

Ofiicial Form 106AlB Schedule AlB: Property page 8

 

 

- F`| cl 12/21/18 Pa e110f23
Debton Yecker Steph>ensCo&i'liSe 18 26200 DOC 11 l e ease numbeg,(,.,m,,)tS-ZSZOO

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

UNo

Cl Yes. Describe ....... 5 ;;s5

   

41. lnventory
m Yes. Describe.......§

 

 

 

42. lnterests in partnerships or joint ventures

ENo

a Yes. Describe ....... Name Of entity % of ownership:

% $
% $
% $

43. Customer lists, mailing lists, or other compilations
a No
n Yes. Do your lists include personally identifiable information (as detined in 11 U.S.C. § 101(41A))?
n NO ._,.... r. ¢../~ . ..…~r , … ., …,N . ..,, . _, ……. .`,…`_,A . `, `,.`_ M_ », , ,.,._._. , ._.,` . ~, . _ _ V.A (.. .…, … `., w ._.~ .
Cl Yes. Describe........ §

 

44.Any business-related property you did not already list
g No
El Yes. Give specific

 

information .........

 

 

 

€BM$€B$$

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ O_OO
for Part 5. Write that number here ................................................................................. ')

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property ¥ou D’iiim or Have an lnterest ln.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
g No. Go to Part 7.
a Yes. Go to line 47.

Current value of the

portion you own?
Do not deduct secured claims
or exemptions
47. Farm animals

Examples: Livestock, poultiy, farm-raised fish

No

m Yes , _ ,, _, §, a-
` §

 

Ofticial Form 106AlB Schedule AlB: Property page 9

 

 

 

_ ' 2
owen Yecker StephensCo&'l‘Se 18 26200 DOC 11 Fl|ed 12/21/1€€:lse m|:’ma.(c;'.§(em:lm) 10£;_53€>200

First Name Mlddle Name Last Name

 

 

48. Crops-either growing or harvested

n Yes. Give specific
inforrnation. ............ $

   

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

a No
n Yes _______________________ _ t , a

 

 

50. Farm and fishing supplies, chemicals, and feed
No
a Yes __________________________ _, .… c ",. v c ,_ ,_

 

51.Any farm- and commercial fishing-related property you did not already list
No
n Yes. Give specific
inforniation. ............ $

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ O_OO
for Part 6. Write that number here .................................................................................................................................................... 9 _`

 

 

 

Part 7: Describe All Property You Cwn or Have an lnterest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

a No :;,`....,,….i , _., t s ~….._,., ,.»c.,...,' », . t,t..,,./,,.,`~,_ _ - /,t_… » , ,_ ,.»….t_t,~.,.._ …c n r.,, tea .~ 4.»,…, _.,...,. ..,,4, ./,». vs , _ tc. / ……/,…,V.-e,~c»,~,.~,.. / .,..r,e ,,_;
n Yes. Give specilic
information

 

54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $*M

 

 

 

List the Totals of Each Part of this Form

 

55, Part 1: Total real estate, line 2 ........................................ .. 9 $M
56. Part 2: Total vehicles, line 5 $ 9’871'00
57. Fart 3: Total personal and household items, line 15 $ 2’104'00
58. Part 4: Total financial assets, line 36 $ 0'00
59. Pait 5: Total business-related property, line 45 $ 0'00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0'00

61. Part 7: Total other property not listed, line 54 + $ 0-00

62.Total personal property. Add lines 56 through 61. .................... l $ 1 1 '975'00 Copy personal property total 9 -|- $ 1 1 ,975.00

t

 

 

cna oral may nn sunshine m Add w 55 + w 62, §M

 

 

 

Oflicial Form 106AlB Schedule AlB: Property page 10

 

Case 18-26200 DOC 11 Filed 12/21/18 Page 13 Of 23

Fil| in this information to identify your case:

Debto, 1 Yecker Stephenson
First Name Mkk”e Name

 

Debtor 2
(Spouse, if filing) Firsi Name Middis Name

 

United States Bankruptcy Court for the: Distrin Of Maryland

Case number 18'26200

(if known)

Cl check if this is an
amended filing

 

 

 

 

Off`icial Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: property (Ofticia| Form 106A/B) as your source, list the property that you claim as exempt. |f more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Altematively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

ig You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
cl You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief . . Md. Cts & Jud. Proc.
- - . _g_____g_ , - v . -
description HH oods furnishin s $1 854 00 $ 1 854 00 §11_504([))(4)
Line from Cl 100% of fair market value, up to
Schedule A/B_- 6 any applicable statutory limit
Brief . v Md. Cts. & Jud. Proc.
description: ~E-|-e-Ctro_mCS-__ $100‘00 $ 100-00- , 11_504(b)(4)
Line from n 100% affair market value, up to §
Schedule A/B_- L~_ any applicable statutory limit
§;‘Se;npnon: wearing annarei $150.00 21 $ 150.00 x?)-(|():(§~;*(- 1€)‘ J“d- P'°C-
Line from n 100% of fair market value, up to
Schedule A/B: _1_]_ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

M No
n Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
n No
n Yes
Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of §

@

 

 

Case 18-26200 DOC 11 Fi|eCl 12/21/18 Page 14 Of 23

Demm ¥ecker Stephenson

Case number (uk,,,,w,,) 18*26200

 

 

First Name Midde Name Last Name

m Additional Page

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description: Jewe|

Line from 12
Schedule A/B:

Brief

description:

Line from
Schedule A/B.' __

Brief
description:

Line from
Schedule A/B.' ' _

Brief
description:

Line from
Schedule A/B.'
Brief
description:

Line from
Schedule A/B: _-

Brief
description:

Line from
Schedule A/B: "_

Brief
description:

Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B.' _--

Brief
description:

Line from
Schedule A/B: _"`

Brief
description:
Line from
Schedule A/B.'
Brief
description:

Line from
Schedule A/B: _-

Brief
description:

Line from
Schedule A/B:

Official Form 1060

Current value of the Amount of the exemption you claim Specific laws that allow exemption
portion you own

Copy the value from Check only one box for each exemption
Schedule A/B

Md. Cts. & Jud. Proc.
$ 20.00 M$ 20.00 § (f)(|)(i)(1)

m 100% of fair market value, up to
any applicable statutory limit

 

$ Cl$

l;l 100% affair market value, up to
any applicable statutory limit

 

$ El$

El 100% of fair market vaiue, up to
any applicable statutory limit

 

$ Cl$

m 100% of fair market value, up to
any applicable statutory limit

 

$ Cl$

n 100% of fair market value, up to
any applicable statutory limit

 

$ U$

n 100% affair market value, up to
any applicable statutory limit

 

$ Cl$

cl 100% of fair market value, up to
any applicable statutory limit

 

$ El$

m 100% of fair market value, up to
any applicable statutory limit

 

$ D$

n 100% affair market value, up to
any applicable statutory limit

 

$ Cl$

El 100% affair market value, up to
any applicable statutory limit

 

$ El$

n 100% of fair market value, up to
any applicable statutory limit

 

$ Cl$

|;l 100% or fair market vaiue, up to
any applicable statutory limit

 

Schedule C: The Property You Claim as Exempt page 2__ afl

 

 

CaSe 18-26200 DOC 11 Filed 12/21/18 Page 15 Of 23

Fil| in this information to identify your case:

 

Debto, Yecker Stephenson
First Name w Name

Debtor2
lSP°‘-'Se\"ll'@) Fwswame mem

 

united states Bankruptcy court for me; District of Maryland

 
    

  

ease gm 18-26200
(lf known)

 

i‘ ` _ ?§heck if this is an
3 ti :..émended tiling

    

. x

 

 

Ofl‘icial Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. if two married people are tiling together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, till it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Doyouhaveanyexecutorycontractsoruoexpiredleases?
a No.Ched<misboxandmemisfonnwiththecourtwithyouromerschedules.Vouhavenothingelsetoreportonthisform_
El Yes.FminallofmeinformanonbebweveniftheconnactsorbasesarelistedonScheduleA/B:anerty(Ofticial Form 106AIB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Pe¢sonorcompanywithwhomyouhavetheconh'actorlease Statewhatthecontractorleaseistor

;2.1§

 

Name

 

Number Street

 

City State ZlP Code

`2.2§

 

Name

 

 

Number Slreet

 

cny y sane zip code
.2.3§

 

Nah'\e

 

i y Number street

 

city state zlP_code
;2.4‘1

 

Name

 

Number Street

 

city state ziP code _
52.5§

3 Name

 

 

Number Street

 

City Sla&e Z]F’Code

Otficial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of1_

h

 

CaSe 18-26200 DOC 11 Filed 12/21/18 Page 16 Of 23

Fil| in this information to identify your case:

rhwa Yecker Stephenson

First Name Middle Name -:~
Debtor 2 .'
(Spouse, iftiling) Firsruame Miridie Name g 2 \ A~:;i‘ `@-_ G§_§

 

 

United States Bankmptcy Court for mec Distrin Of Maryland

  

Ca$e numbe¢' 18'26200 U' r 1 w ;' §§ 1
‘"""°w") , i:‘~r"i"ii€ i.?‘ §

 

 

l El Check if this is en
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 1211'5

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct infonnation. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your hammond
case number (if known). Answer every question.

 

y 1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

n No
a Yes

_ 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and tem'torr'es include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rioo, Texas, Washington, and Wisconsin.)

g No. Go to line 3.
L_.l Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

UNo

m Yes. ln which community state or territory did you live? . Fi|l in the name and current address of that person.

 

Name of your spouse, fenner spouse, or legal equivalent

 

Number Street

 

City Sta!e Z|P Code

3. |n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 1060), Schedule E/F (Official Form 106EIF), or Schedule G (Oflicial Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: ¥our codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that app|y:

 

 

 

 

 

3.1 -
: P.J. Construction, LLC n Schedule D’ line

 

 

 

 

 

 

 

 

 

 

Name
1629 K street, NW suite 300 i!f schedule E/F, rrrre___
Wbe'h_ ts"ee‘ DC 20006 Cl Schedule G, line
as ing on , . \
city stare ziP code pd Y?/r\lk F\Ni!\(’/e» op Twr"$l I"°‘
3.2
r|;::er Agbro Cl Schedule D, line
2202 Dhow couri, suite 100 U Schedule E/F, line ___
N“"‘be' S"ee‘ l;l Schedule G, line
Bowie MD 20721 . .
city stare ziP code R¢Y&Y'i` du caan O(&' T£mr)l’lc‘
,3'3 Rekcey Pro, LLC

 

 

 

l:l Schedule D, line

 

 

 

Name

307 Tamarack Court g Schedule E/F, line

N""‘"e' S"ee‘ Cl schedule G, iirre

U r MarlbO|'O MD 20774 . , . ,
Ci*?pe v Swte ziPcerie ‘P\\ V©'V'i 6- V\na/WC¢» §§ W,'J_'r\(;.

Oflicia| Form 106H Schedule H: Your Codebtors page 1 afl

 

Case 18-26200 DOC 11 Filed 12/21/18 Page 17 Of 23

 

 

 

geth 1 Yecker Stephenson Case number (,.,k,,,,,,,,, 18-26200
Fcrst Name Middle Name Last Name
- Additional Page to List More Codebtors
Column 1.' Your codebtor Column 2.' The creditor to whom you owe the debt

Check all schedules that apply:

3._
Thomas K. Stephenson n Schedu|eD line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
M schedule E/F l'ne
307 Tamarack Court ’ ' _
Number street n Schedule G, line
Upper Marlboro mmi ch\¢, §3(¢¢`<',&5
C“¥ l, S'a‘e c l z'P C°de , ,, . , l ,
lggmas K' Stephenson d schedule D, line
m SCh d l E/F, l`
307 Tamarack Court 9 u e me _
Number street El Schedule G, line
; upper Marlbcrp lle 20774 ler M 8
` city state y zlP code C°n` o\ 69 ar`/\ an
'
N El schedule D, line
ama ____
[;l Schedule ElF, line
Number Street n Schedule G, line
City state zlP code
Name [] Schedule D, line
Cl schedule E/F, line
Number street n Schedule G, line
§ city state zlP code
, Name n Schedule D, line
n Schedule E/F, line
Number Street E.l Schedule G, line
§ city state zlP code
f Name Cl Schedule D, line
El Schedule E/F, line
Number Street n Schedule G, line
city state th code

§ l;l Schedule D, line

Name
n Schedule E/F, line

 

 

 

 

 

 

Number street \;l Schedule G, line
§ C"fy state zlP code
Name El Schedule D, line__
|;.l Schedule E/F, line
Numt>er street \:l Schedule G, line
my 7 _, ,_ . 399 l ZIPM ,. 1 my
otticial Form 106H schedule H: Your cedebters page L oil

 

Case 18-26200

Fill in this information to identify your case:

Debtom Yecker Stephenson

Doc11

Fi|eCl12/21/18

 

First Name Middle Name

Debtor 2

 

(Spouse, if flling) First Name Middle Name

United States Bankruptcy Court for the: District of Maryland

1 8-26200

Case number

 

(lf known)

 

 

Ofticia| Form 106|
Schedule l: Your lncome

 

Page 18 of 23

   

check if thi§‘i§; ”: " ii
'_ #~“i‘"z‘x ;
Cl An ame§d§d filil§g{~ _ _
El A supplement showing postpetition chapter 13
income as of the following date:

MM/DD/YYYY

12/15

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with youl do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment
information.

|f you have more than one job,
attach a separate page with

information about additional Emp'°yme"t status
employers
include part-time, seasonal, or
self-employed work.
Occupation

Occupation may include student
or homemaker, if it applies.

Employer’s name

Employer’s address

Debtor 1

Debtor 2 or non-filing spouse

 

a Employed
a Not employed

n Employed
Cl Net employed

 

 

 

Number Street

Number Street

 

 

 

city stale

How long employed there?

m Give Details About Month|y lncome

ZlP Code

city state zlP code

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 irl the space. include your non-filing

spouse unless you are separated

|f you or your non-tiling spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space. attach a separate sheet to this form.

 

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). lf not paid monthly, calculate what the monthly wage would be. 2.

3. Estimate and list monthly overtime pay.

4_._ Qa|_culate g;oss income. Add. line ?_ + line 3..

’Ul‘fi'd`ral ‘F’Ul'rn 4I’UB|

 

For Debtor 1 For Debtor 2 or
non-filing spouse
$ 0.00 $ MQ
3. + $ 0-00 + $ L/Z §
4 e____0.00 ee_l.!&

 

 

 

 

 

 

 

Schedule'l:\Your'|noeme

patted

 

 

Debtor 1

 

Case number (irkmwn) 18'26200

 

 

For Debtor 2 or
non-ming sgLse

Case 18-26200 DOC 11 Fi|ecl 12/21/18 Page 19 of 23
Yecker Stephenson
For Debtor 1
Copy line 4 here ............................................................................................... 9 4. $ 0-00

5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. insurance

5f. Domestic support obligations

Sg. Union dues

5h. Other deductions. Specify:

 

. Add the payroll deductions Add lines 53 + 5b + 50 + 5d + 5e +5f + 59 + 5h.

4 Calculate total monthly take-home pay. Subtract line 6 from line 4.

. List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8h. interest and dividends

 

 

 

 

 

 

 

 

 

80. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemp|oyment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

 

 

include cash assistance and tfle value (if known) of any non-cash assistance

that you receive, such as food stamps (benetits under the Supplemental
Nutrition Assistance Program) or housing subsidies

Specify:

 

Sg. Pension or retirement income

8h. Other monthly income. Specify:

 

. Add all other income. Add lines 8a + 8b + 80 + 8d + 8e + 8f +8g + 8h.

10.Calculate monthly income. Add line 7 + line 9.

11.

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Oflic`ui Form 106|

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical lnfom'lation, if it applies

g No.

 

 

 

 

se $ 0.00 s /\//A

5b. s 0.00 s N/A

5a $____M $

5d. $ O-OO $

56 $ 0.00 $

et t O.OO $ ,“/l/ /; §

59_ s O-OO $ /\//A

5h. +$ 0.00 + $ /\//A

e. t 0.00 t /~//A

7 t 0.00 c /~//A

8a. $ 0`00 $/`/r/A

8h. $ 0.00 $ /l//A

8a $ 0.00 $ M ZA

8d. $ 0-00 $ _/l//A

8e. $ 0.00 s A/_//t

sf. $ 0.00 $ /`///"

eg. $ 0.00 $ M//t’

8h. +$ 0.00 +$ /l//A'

9 $ 0.00 $ /\///"

10_ $ 0.00 $ /r///t = $ 0.00
11_ + $ 0.00
12. $__M

Combined

l 13. Do you expect an increase or decrease within the year after you file this form?

monthly income

 

I.\heeetecqitsm.

 

 

 

 

Scheddel:Yourlncome

D§G§z

__

 

Case 18-26200 DOC 11 Fi|eci 12/21/18 Page 20 Of 23

    
  

Fiii in this information to identify your case:

    

grewa Yecker Stephenson

First Name

 

Check if this is:

Middle Name Last Name

        
 

Debtor 2
(Spouse, if ming) Fiist Name Middle Name Last Ndriu

o 1 i
iud'An amended filing

         

United States Bankruptcy Court for the: District Of Maryland
Case number 18'26200

(if known)

 
    

 

 
 

 

Officiai Form 106J

 

Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

describe Your Household

1. ls this a joint case?

El No. co in line 2.
n Yes. Does Debtor 2 live in a separate househoid?

n No
El Yes. Debtor 2 must file Ofiicial Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? n NO

 

 

 

 

 

 

Dependent's relationship to Dependent’s Does dependent live
Do not list Debtor1 and M Yes. Fiii out this information for Debtor 1 or Debi¢r 2 age with you?
Debtor 2 . each dependent .......................... m
Do not state the dependents Child 22 g N°
names. Yes
n No
n Yes
n No
E] Yes
n No
n Yes
El No
n Yes
3. Do your expenses include g No

expenses of people other than n
yourself and your dependents? Yes

m£stimate Your ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the

 

 

 

applicable date.
include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule l: Your Income (Oft'icial Form 106|.) Y°l"' expenses
4. The rental or home ownership expenses for your residence. lnciude first mortgage payments and $ m mm;:ggm
` any rent for the ground or iot. 4_ _--_-_-__
if not included in line 4:
4a. Real estate taxes 43_ $ 0.00
4b. Property, homeowner`s, or renter’s insurance 4b. $ 0.00
4c. Home maintenance repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0-00
Ofticia| Form 106J Schedule J: Your Expenses page 1

_+I

 

Case 18-26200 DOC 11 Filed 12/21/18 Page 21 Of 23

 

 

 

 

 

 

 

 

 

Debw,, Yecker Stephenson Case number (i,,m,,,, 18-26200
First Name Middle Name Last Name
Your expenses
5. Additional mortgage payments for your residence such as home equity loans 5. $_-“_M
6. Utilities:
6a. E|ectricity, heat, natural gas Ga. $ 0.00
6b. Water, sewer, garbage collection 6b. $ 0.00
6c. Teiephone, ceii phone, lnternet, satellite, and cabte services 6c. $ 0.00
ed. other. specify; 6¢, $ 0.00
7. Food and housekeeping supplies 7_ $ 0-00
8. Childcare and children’s education costs 8. $ 0.00
9. Ciothing, laundry, and dry cleaning 9, $ 0.00
10. Personal care products and services 10_ $ 0.00
11. Medical and dental expenses 11. $ 0.00
12. Transportation. include gas, maintenance, bus or train fare. $ 0_00
Do not include car payments. 12.
13. Entertainment, clubs-, recreation, newspapers, magazines, and books 13. $ 0'00
14. Charitabie contributions and religious donations 14. $ O-GG
15. insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a_ $ 0.00
15b. Heaith insurance 1511 $ 0.0Q
15c. Vehicie insurance 15¢;_ $ 0.00
15d. Other insurance. Specify: 15d_ $ 0.00.
16[ Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16_ $_______O.QQ_
17. installment or lease payments:
17a. Car payments for Vehicie 1 17a_ $ 0-00
17b. Car payments for Vehicie 2 17b_ $ 0.00
17c. Other. Specify: 17¢_ $ 0.00
17d. other. speciry: 17¢_ $ 0.00
18_ Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your income (Official Form 106|). 18. $ O_OO
19. Other payments you make to support others who do not live with you.
Specify: 19_ $ 0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a Mortgages on other property ZUa. $ 0‘00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeownefs, or renter’s insurance 20c. $ 0-00
20d_ Maintenance, repair, and upkeep expenses 20d_ $ 0-00
20e. Homeownei’s association or condominium dues 20e, $ 0.00
Oiticia| Form 106J Schedule J: Your Expenses page 2

_____

 

Case 18-26200 DOC 11 Fi|eCl 12/21/18 Page 22 Of 23

nemon Yecker Stephenson

Firsi Name Mddle Name Last Name

 

21_ Other. Specify:

 

22. Calcuiate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (month|y expenses for Debtor 2), if any, from Ofi"iciai Form 106J-2

220. Add line 22a and 22b. The result is your monthly expenses.

23. Caiculat)e your monthly net income.
23a. Copy line 12 (your combined montth income) from Schedule I.

23b. Copy your monthly expenses from line 220 above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For exampie, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

g No.
n YeS~ j Explain here:

Ofiicial Form 106J Schedule J: ¥our Expenses

Case number (ifimown) 18'26200

 

21.

22a.

22b.

22c.

23b.

23c.

 

 

 

 

+$ 0.00
$ 0.00§
$ 0.00§§`
$ 0.00§
$ 0.00
_$ 0.00
$ 0.00
page3

 

 

Case 18-26200 DOC 11 Fi|eCl 12/21/18 Page 23 Of 23

Fiil in this information to identify your case:

Debim Yecker Stephenson

Fiist Name Middle Name

 

Debtor 2
(Spouse, it niing) Firsi Name Middle Name

 

United States Bankruptcy Court for the: District Of Maryland

Case number 18-26200

(if known)

 

 

Oi'ticial Form 106Dec
Declaration About an individual Debtor’s Schedules wis

 

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankmptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

MNO

m Yes. Name of person . Attach Bankruptcy Petition Preparefs Notice, DecIa/ation, and
Signature (Officiai Form 1 19).

Under penalty of perjury, i declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

Signaiure ot Debtor 2

Date________
MM/ DD / YYYY

 

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